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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                              JUDGE DANIEL D. DOMENICO

   Civil Action No.: 1:23-cv-00939-DDD-SKC          Date: October 17, 2023
   Courtroom Deputy: Robert R. Keech                Court Reporter: Tammy Hoffschildt


    Parties:                                               Counsel:

    BELLA HEALTH AND WELLNESS,                             Mark L. Rienzi
    DENISE “DEDE” CHISM,                                   Kelly R. Oeltjenbruns
    ABBY SINNETT, and                                      Colten L. Stanberry
    KATHLEEN SANDER, on behalf of themselves               Rebekah P. Ricketts
    and their patients,                                    Laura W. Slavis

         Plaintiffs,

    v.

    PHIL WEISER, in his official capacity as               Michael T. Kotlarczyk
    Attorney General of Colorado;                          Brian J. Urankar
    ROLAND FLORES,                                         Elizabeth V. Kenny
    AMANDA MIXON,                                          Grant T. Sullivan
    JENNIFER BLAIR,                                        David E. Hughes
    BECKETT CZARNECKI,                                     Andrew D. Ringel
    ROBERT M. MAULITZ,                                     Josh A. Marks
    SAUGHAR SAMALI,
    ALAN E. SHACKELFORD,
    KIELY M. SCHULTZ,
    AMY E. COLEN,
    ANITA KUMAR,
    DONALD LEFKOWITS,
    MAIDUL MEHMUD,
    KIAN MODANLOU,
    SCOTT C. STRAUSS,
    CHRISTOPHER A. BATES,
    JULIE ANN HARPER, and
    HIEN H. LY, in their official capacity as
    members of the Colorado Medical Board;
    BERNARD JOSEPH FRANTA,
    LORI RAE HAMILTON,
    KARRIE TOMLIN,
    LENNY ROTHERMUND,

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    HAYLEY HITCHCOCK,
    ALISSA M. SHELTON,
    PHYLLIS GRAHAM-DICKERSON,
    BRANDY VALDEZ MURPHY,
    DIANE REINHARD,
    NICHELE BRATTON, and
    AECIAN PENDLETON, in their official capacity
    as members of the Colorado State
    Board of Nursing;
    JOHN KELLNER, in his official capacity
    as District Attorney of the 18th Judicial
    District of Colorado;
    MICHAEL DOUGHERTY, in his official
    capacity as District Attorney of the 20th
    Judicial District of Colorado; and
    BETH McCANN, in her official capacity as
    District Attorney of the 2nd Judicial District
    of Colorado,

        Defendants.


                                   COURTROOM MINUTES


   MOTION HEARING

   9:35 a.m.    Court in session.

   Appearances of counsel.

   Court’s opening remarks.

                Pending motions are raised for argument.

                Argument by Ms. Slavis, Mr. Marks, Mr. Ringel, Mr. Hughes, Ms. Slavis,
                Mr. Rienzi, Mr. Sullivan, Mr. Rienzi, Mr. Sullivan, Mr. Rienzi, Mr. Sullivan,
                and Mr. Urankar.

   11:01 a.m.   Court in recess.

   11:18 a.m.   Court in session.

                Argument by Mr. Rienzi, Mr. Urankar, Mr. Rienzi.

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   ORDERED: [58] Defendant’s Motion to Dismiss from Beth McCann is TAKEN UNDER
            ADVISEMENT.

   ORDERED: [67] Defendant John Kellner’s Motion to Dismiss is TAKEN UNDER
            ADVISEMENT.

   ORDERED: [95] Defendant District Attorney Michael Dougherty’s Motion to Dismiss
            Amended Complaint is TAKEN UNDER ADVISEMENT.

   ORDERED: [68] Defendant Attorney General Weiser’s Motion to Dismiss Under Fed.
            R. Civ. P. 12(b)(1) and 12(b)(6) is TAKEN UNDER ADVISEMENT.

   ORDERED: [107] Defendants Nursing Board’s Motion to Dismiss Under Fed. R. Civ. P.
            12(b)(6) is TAKEN UNDER ADVISEMENT.

   ORDERED: [92] Plaintiffs’ Motion for a Preliminary Injunction is TAKEN UNDER
            ADVISEMENT.

   ORDERED: [103] Plaintiffs’ Motion to Restrict Photographs is GRANTED.

   12:52 p.m.   Court in recess. Hearing concluded. Total in court time: 3:00




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